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10
                               NORTHERN DISTRICT OF CALIFORNIA
11
                                          SAN JOSE DIVISION
12
                                                                    *E-FILED - 3/9/06*
13
     UNITED STATES OF AMERICA,                     )      No. CR 06-00054-RMW
14                                                 )
             Plaintiff,                            )
15                                                 )      STIPULATION REGARDING
        v.                                         )      EXCLUDABLE TIME AND
16                                                 )      ORDER
     GREGORY DICKMAN,                              )
17     a/k/a blazin,                               )
       a/k/a notblazin,                            )
18                                                 )
             Defendant.                            )
19                                                 )
20
        It is hereby stipulated and agreed between defendant Gregory Dickman, and his counsel John
21
     Williams, and the United States as follows:
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        This matter was set for a status conference on March 13, 2006 at 9:00 a.m. In this copyright
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     infringement case, the defense needs more time to prepare, review discovery previously
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     provided, including a substantial amount of digital evidence, and research legal and sentencing
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     issues. The parties have been discussing plea and sentencing issues. The defendant was only
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     recently arraigned on this case on February 22, 2006. It is reasonable for the defense to have
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     additional time to review the discovery, which includes some digital evidence. Additionally,
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     CR 06-00054-RM W
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1    defense counsel will be out of town for a period and will need further time to review matters
2    related to this case upon his return.
3       The parties stipulate and move the Court to exclude time under the Speedy Trial Act from the
4    March 13, 2006, until April 10, 2006, because the parties believe that the ends of justice served
5    by the granting of such a continuance outweigh the best interests of the public and the defendant
6    in a speedy trial, particularly since reasonable time is needed for the defense to prepare for
7    pretrial and trial matters, pursuant to 18 U.S.C. §§ 3161(h)(8)(A), 3161(h)(8)(B)(ii). The parties
8    further stipulate that time may be excluded for reasonable time for defense
9    preparation, since the failure to exclude time would deny counsel for the defendant reasonable
10   time necessary for effective preparation, taking into account the exercise of due diligence,
11   pursuant to 18 U.S.C. §§ 3161(h)(8)(A), 3161(h)(8)(B)(iv).
12      So stipulated.
13   Dated: March 8, 2006                                  KEVIN V. RYAN
                                                           United States Attorney
14
                                                                  /S/
15                                                         ________________________
                                                           MARK L. KROTOSKI
16                                                         Assistant United States Attorney
17      So stipulated.
18   Dated: March 8, 2006
                                                                  /S/
19                                                         ________________________
                                                           JOHN L. WILLIAMS
20                                                         Attorney for Defendant Dickman
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1                                                  ORDER
2       Based upon the foregoing Stipulation and good cause appearing therefor,
3       IT IS HEREBY ORDERED that the status conference set for March 13, 2006 at 9:00 a.m.
4    for defendant Dickman shall be continued to April 10, 2006 at 9:00 a.m.
5       IT IS FURTHER ORDERED that the time between March 13, 2006, until April 10, 2006
6    shall be excluded from the computation period within which the trial must commence, for the
7    reasons and based upon the statutory provisions set forth by the parties in this Stipulation,
8    including that time is needed for effective defense preparation.. The Court finds that the ends of
9    justice outweigh the interests of the public and the parties in a speedier trial under 18 U.S.C. §§
10   3161(h)(8)(A), 3161(h)(8)(B)(ii) (complexity), 3161(h)(8)(B)(iv) (reasonable time necessary for
11   effective preparation taking into account the exercise of due diligence).
12                9 2006
     DATED: March __,
13                                                          /S/ RONALD M. WHYTE
                                                           _________________________
                                                           RONALD M. WHYTE
14                                                         United States District Judge
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     STIPULATION REGARDING EXCLUDABLE TIME AND ORDER
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